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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SAMMIA PRATT, et al.,                     )
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )                 Case No. 1:20-cv-1501-TNM
                                          )
PHIL ROSENFELT, Acting Secretary of the   )
United Department of Education, et al.,   )
                                          )
       Defendants.                        )
__________________________________________)

                                  JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order of January 12, 2021, the parties hereby submit this

joint status report. At the time Defendants moved to vacate their summary judgment deadline,

they were “in the process of considering several substantive changes to the challenged policy, such

that the claims and arguments raised in Plaintiffs’ complaint and motion for summary judgment

may no longer apply.” See ECF No. 22 at 1. Defendants report that the prior Administration ended

up revising the challenged policy in the closing days before they left office. However, those

changes have not been implemented. The new Administration is currently reviewing the policy

and deciding how to proceed. Given the state of flux of the challenged policy, the parties agree

that it is premature to propose a new schedule for concluding summary judgment briefing at this

time and instead propose to file another status report on or before March 18, 2021.
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Dated: February 1, 2021            Respectfully submitted,


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